22-10227-smr Doc#32 Filed 11/07/22 Entered 11/07/22 10:09:48 Main Document Pg 1 of 3




  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: November 07, 2022.

                                                  __________________________________
                                                            TONY M. DAVIS
                                                  UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________
22-10227-smr Doc#32 Filed 11/07/22 Entered 11/07/22 10:09:48 Main Document Pg 2 of 3
22-10227-smr Doc#32 Filed 11/07/22 Entered 11/07/22 10:09:48 Main Document Pg 3 of 3
